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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                         Tallahassee Division

AUGUST DEKKER, legally known as
KORI DEKKER; BRIT ROTHSTEIN;
SUSAN DOE, a minor, by and through
her parents and next friends, JANE
DOE and JOHN DOE; and K.F., a
minor, by and through his parent and
next friend, JADE LADUE,
                                         Case No. 4:22-cv-00325-RH-MAF
              Plaintiffs,
     v.
SIMONE MARSTILLER, in her official
capacity as Secretary of the Florida
Agency for Health Care Administration;
and FLORIDA AGENCY FOR
HEALTH CARE ADMINISTRATION,

              Defendants.


   BRIEF OF AMICI CURIAE HUSSEIN ABDUL-LATIF, SUSAN D.
  BOULWARE, REBECCA KAMODY, LAURA KUPER, MEREDITHE
MCNAMARA, CHRISTY OLEZESKI, NATHALIE SZILAGYI, AND ANNE
     ALSTOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR A
                PRELIMINARY INJUNCTION
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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for

amici curiae Hussein Abdul-Latif, Susan D. Boulware, Rebecca Kamody, Laura

Kuper, Meredithe McNamara, Christy Olezeski, Nathalie Szilagyi, and Anne Alstott

represent that none of the above-referenced individuals is a corporate entity or has

issued stock.




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                          STATEMENT OF INTEREST

      The amici submitting this brief are a group of seven scientists and a law

professor (collectively, “Amici”). The seven scientists on whose behalf this brief is

submitted hold academic appointments at the University of Alabama at Birmingham,

the University of Texas Southwestern, and Yale University. The law professor holds

a tenured position at the Yale Law School. Amici include three Ph.D. child and

adolescent psychologists and four M.D. physicians with specialties in pediatric

endocrinology, child and adolescent psychiatry, and adolescent medicine.

      All seven scientists are also clinicians who treat transgender youth daily.

Collectively, Amici have over 57 years of clinical practice and have treated more

than 2,100 transgender youth.

      All Amici share an interest in the integrity of medicine and science, and all

are concerned that the newly adopted Rule 59G-1.050(7) of the Florida

Administrative Code sets a harmful, national precedent for denying standard medical

care to transgender people. As scientists and clinicians, Amici have a strong interest

in ensuring that this Court has sound scientific information at hand regarding the

medical treatment of gender dysphoria. We submit this brief to support the Plaintiffs’

motion for a preliminary injunction to halt enforcement of Rule 59G-1.050(7).

      Consistent with our expertise, Amici focus on medical care for gender

dysphoria for adolescents. For reasons of brevity, we do not address the science of



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surgery used to treat gender dysphoria, but the safety and effectiveness of surgical

treatments is amply confirmed in other materials available to the Court, including

declarations submitted by Plaintiffs’ experts.

      Amici received no funding for this work and have no conflicts of interest to

declare. This brief reflects our views and not those of the University of Alabama,

the University of Texas, or Yale University.

                          SUMMARY OF ARGUMENT

      Adopted in August 2022, new Section 59G-1.050(7) of the Florida

Administrative Code (the “2022 Exclusion”) denies Medicaid coverage for standard

medical care for individuals with gender dysphoria. Specifically, the 2022 Exclusion

denies Florida Medicaid coverage for medical services for the treatment of gender

dysphoria, including puberty blockers, hormones and hormone antagonists, “sex

reassignment surgeries,” and “any other procedures that alter primary or secondary

sexual characteristics” (collectively, “medical care for gender dysphoria”).

Significantly, the 2022 Exclusion does not bar Medicaid coverage of the same

medical treatments when offered to people with conditions other than gender

dysphoria.

      Amici are a group of seven scientists and a law professor who are deeply

dismayed by the 2022 Exclusion, which denies long-established, effective, and

evidence-based medical care to thousands of Florida Medicaid patients. We believe



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that the 2022 Exclusion represents unlawful discrimination against transgender

people in violation of the Federal Constitution and Federal Medicaid anti-

discrimination rules. See, inter alia, Bostock v. Clayton Cnty, Georgia, 140 S. Ct.

1741 (2020) (holding that discrimination based on transgender status is sex

discrimination) and 42 U.S.C. § 18116 (prohibiting discrimination on the basis of

sex in federally funded health insurance).

      Amici urge this Court to grant Plaintiffs’ motion for a preliminary injunction

to avoid the irreparable harm that the 2022 Exclusion will impose on thousands of

transgender Floridians.

      In this brief, Amici demonstrate that the 2022 Exclusion lacks scientific

justification. The exclusion was based on a fatally flawed document issued by

Defendant Florida Agency for Health Care Administration (“Florida AHCA”) on

June 2, 2022.     Division of Florida Medicaid, AGENCY         FOR    HEALTH CARE

ADMINISTRATION,      Generally    Accepted    Professional     Medical   Standards

Determination       on      the     Treatment       of       Gender      Dysphoria,

https://www.ahca.myflorida.com/letkidsbekids/docs/AHCA_GAPMS_June_2022_

Report.pdf [“AHCA Report”] (last visited September 30, 2022).

      The AHCA Report purported to provide a scientific justification for the 2022

Exclusion and claimed that medical care for gender dysphoria fails to meet

professional medical standards and is “experimental.” In fact, the AHCA Report is



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thoroughly unscientific. It disregards evidence-based clinical practice guidelines and

mischaracterizes the scientific evidence supporting medical care for gender

dysphoria.

      Riddled with scientific errors, bias, and unfounded speculation, the AHCA

Report provides no justification for the 2022 Exclusion and violates Florida’s own

administrative standards for determining Medicaid coverage. See Fl. Admin. Code

Section 59G-1.035(4) (requiring that the AHCA consult “evidence-based clinical

practice guidelines” and peer-reviewed scientific publications).

      Contrary to the assertions of the Defendants, medical care for gender

dysphoria is a well-established, consensus set of treatments that have been provided

for decades to transgender individuals experiencing gender dysphoria. Medical care

for gender dysphoria is supported by a robust scientific consensus, meets generally

accepted professional medical standards, and is neither experimental nor

investigational.

      By denying transgender patients access to standard medical care, the 2022

Exclusion will cause irreparable harm. A well-established body of science research

documents the psychological and physical damage that results when patients with

gender dysphoria are denied medical treatment: these include depressed mood,

suicidal ideation and attempts, and disordered eating. The devastating truth is that

40% of transgender individuals who do not receive appropriate care will attempt or



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complete suicide in their lifetime. See infra.

        As scientists, Amici are appalled that Florida’s health care agency adopted the

2022 Exclusion and justified it with a report that so blatantly violates the basic tenets

of scientific inquiry. We submitted timely comments opposing the 2022 Exclusion

when it was proposed in June 2022. See Letter from Anne Alstott, et al., to Simone

Marstiller         and        Tom         Wallace          (July        8,        2022),

https://medicine.yale.edu/lgbtqi/research/gender-affirming-

care/alstott%20et%20al%20full%20comment%20proposed%20rule%20re%20gen

der%20dysphoria_443049_284_55174_v3.pdf. Our comments were grounded in a

lengthy analysis of the AHCA Report, to which we refer throughout this brief.

Meredithe McNamara, et al., A Critical Review of the June 2022 Florida Medicaid

Report on the Medical Treatment of Gender Dysphoria, YALE SCHOOL OF MEDICINE

(July     8,   2022),     https://medicine.yale.edu/lgbtqi/research/gender-affirming-

care/florida-medicaid/ [“McNamara (2022)”]. Our report cites and summarizes the

peer-reviewed scientific literature to refute the misleading and often baseless claims

made in the AHCA Report.

        Defendant AHCA proposed the 2022 Exclusion in June 2022 and quickly

adopted it with no justification beyond the deeply flawed June AHCA Report. To

our knowledge, the AHCA failed to address our comments or the other critical

comments it received in response to its proposed rule and instead rushed to



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implement the new policy.

       We strongly support the Plaintiffs’ motion for a preliminary injunction. The

2022 Exclusion violates constitutional and statutory law and lacks any scientific

foundation. Its implementation will irreparably harm the many transgender

Floridians who rely on Medicaid for access to standard medical care for gender

dysphoria.

                                   ARGUMENT

I.     THE 2022 EXCLUSION WRONGLY DENIES MEDICAID
       COVERAGE FOR STANDARD MEDICAL CARE FOR GENDER
       DYSPHORIA, WHICH IS SUPPORTED BY A ROBUST SCIENTIFIC
       CONSENSUS, MEETS GENERALLY ACCEPTED PROFESSIONAL
       MEDICAL STANDARDS, AND IS NEITHER EXPERIMENTAL NOR
       INVESTIGATIONAL.

       Medical care for the treatment of gender dysphoria, which for youth under the

age of majority can include gonadotropin-releasing hormone agonists (“GnRHa” or

puberty blockers) and hormone therapy (collectively, “transitioning medications,”)

has been vetted and approved by every relevant medical association in the United

States based on the scientific evidence.

       Two authoritative bodies of scientists, the World Professional Association for

Transgender Health (WPATH) and The Endocrine Society, have published

extensive clinical practice guidelines for treating gender dysphoria. See “Standards

of Care for the Health of Transgender and Gender Diverse People,” WORLD

PROFESSIONAL ASSOCIATION       FOR   TRANSGENDER HEALTH 23, (8th ed. 2022)


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[“WPATH Standards of Care”]; Wylie C. Hembree, et al., Endocrine Treatment of

Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical

Practice Guideline, 102 J. CLIN. ENDOCRINOL. METAB. 3869 (2017) [“Endocrine

Society Guidelines”].

      These clinical guidelines are based on rigorous, structured processes. Each

involves the work of a committee of scientific experts and peer review by additional

experts. For example, the authors of the new WPATH guidelines include more than

90 leading researchers in the field of transgender medicine. See WPATH Standards

of Care. The WPATH Standards of Care and Endocrine Society Guidelines are based

on careful reviews of the scientific literature and are revised periodically to reflect

scientific developments. These longstanding clinical practice guidelines have been

used by clinicians for decades. McNamara (2022), at 5.

      A.     Standard medical care for gender dysphoria has been endorsed,
             based on careful reviews of the scientific evidence, by every
             relevant medical organization in the United States.
      Reflecting this scientific and medical consensus, medical care for gender

dysphoria has been confirmed as standard care by every relevant medical

organization in the United States, including the American Academy of Pediatrics

(the “AAP”), the American Psychological Association (the “APA”) and the

American Academy of Child and Adolescent Psychiatry (“AACAP”). See Jason

Rafferty, COMMITTEE ON PSYCHOSOCIAL ASPECTS OF CHILD AND FAMILY HEALTH,



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COMMITTEE    ON   ADOLESCENCE, SECTION        ON   LESBIAN, GAY, BISEXUAL,    AND

TRANSGENDER HEALTH AND WELLNESS, Ensuring Comprehensive Care and Support

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e20182162    (2018); American      Psychological Association,     Guidelines for

Psychological Practice with Transgender and Gender Nonconforming People, 70

Am. Psych. 832 (2015); Stewart L. Adelson, Practice Parameter on Gay, Lesbian,

or Bisexual Sexual Orientation, Gender Nonconformity, and Gender Discordance

in Children and Adolescents, 51 J. AM. ACAD. CHILD & ADOLESC. PSYCH. 957

(2012).

      The confirmation of the WPATH Standards of Care, in all relevant respects,

by these professional associations shows that WPATH should not be dismissed, as

Defendant AHCA attempts to do, as an “advocacy group.” AHCA Report, at 7, n.

3. WPATH is the leading medical society for transgender health, a fact recognized

by the experts in the AAP, the APA, and AACAP. These are not shorthand

endorsements of WPATH: they are lengthy and careful reviews of the scientific

evidence from the perspective of each medical specialty. Thus, every relevant

medical discipline has independently validated the scientific evidence supporting

standard medical care for gender dysphoria. Id.

      The degree of consensus across specialties is notable: each of these clinical

guidelines approves the use of transitioning medications based on an individualized



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assessment of each patient. Each set of guidelines recommends the involvement of

a mental health provider along with physicians, authorizes the use of transitioning

medications only after the onset of puberty, and each prescribes a careful process

designed to ensure the informed consent of parents or guardians along with the

informed assent of the minor. Id.

      As physicians and psychologists, Amici and others rely on the clinical practice

guidelines published by WPATH, the Endocrine Society, the AAP, the APA, and

AACAP because these organizations – comprised of Amici’s national and

international colleagues – have done their research and due diligence.

      These consensus endorsements, based on scientific evidence spanning diverse

medical specialties, sharply refute the AHCA Report’s claim that medical treatments

for gender dysphoria “do not conform to [generally accepted professional medical

standards] and are experimental and investigational.” AHCA Report, at 2.

      B.     The 2022 Exclusion denies Florida Medicaid coverage for
             transitioning medications only for transgender patients, ignoring
             the fact that the same treatments are used commonly and safely by
             cisgender patients and remain fully covered by Florida’s Medicaid
             program.

      The medications used to treat gender dysphoria are used commonly and safely

in cisgender patients.    Puberty blockers are the primary treatment for central

precocious puberty. Estrogen is prescribed for patients of all ages to manage fertility

and reduce heavy menstrual bleeding (to give just two examples of its many uses).



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Testosterone is prescribed to treat hypogonadism and is routinely prescribed to

cisgender men with testosterone deficiency. See McNamara (2022), at 22, 24.

      The Florida Medicaid program covers all these uses without question. The

program authorizes physicians to tailor treatments to cisgender patients’ needs and

trusts cisgender patients (and, in the case of children, their parents) to make informed

decisions with their physicians’ advice. The 2022 Exclusion would deny standard

medical care only for gender dysphoria, discriminating against transgender patients.

      C.     The denial of evidence-based medical care for gender dysphoria
             will irreparably harm thousands of transgender Floridians.
      The best scientific evidence shows that gender dysphoria is real, that untreated

gender dysphoria leads predictably to serious, negative medical consequences, and

that medical care for gender dysphoria significantly improves mental health

outcomes, including reducing rates of suicide.

      The American Psychiatric Association explicitly recognizes gender dysphoria

in the fifth edition of the Diagnostic and Statistical Manual of Mental Disorders

(“DSM-5”), the standard reference for the diagnosis of mental health conditions. The

DSM-5 sets forth criteria for diagnosis, including “a marked incongruence between

one’s experienced/expressed gender and primary and/or secondary sex

characteristics” and “a strong conviction that one has the typical feelings and

reactions of the other gender (or some alternative gender different from one’s

assigned gender).” To meet diagnostic criteria, an individual must exhibit “clinically


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significant distress or impairment in social, occupational, or other important areas of

functioning.” American Psychiatric Association, Diagnostic and Statistical Manual

of Mental Disorders (5th ed., 2013).

      In other words, individuals who live in a manner that is physically and socially

incongruent to their gender identity can experience gender dysphoria – a clinically

significant psychological distress that can lead to depressed mood, suicidal ideation

and attempts, and disordered eating. See Susan D. Boulware, et al., Biased Science:

The Texas and Alabama Measures Criminalizing Medical Treatment for

Transgender Children and Adolescents Rely on Inaccurate and Misleading

Scientific      Claims,   YALE   SCHOOL     OF    MEDICINE      (April   28,    2022),

https://medicine.yale.edu/lgbtqi/research/gender-affirming-care/biased-science/

[“Boulware (2022)”], at 12-13. Suicidal ideation and attempts have been found to

be significantly higher among transgender adolescents who cannot obtain or do not

receive gender-affirming care than among their cisgender peers: 40% of trans

individuals who do not receive hormones will attempt or complete suicide in their

lifetime. Id.

      Reliable research has shown that transitioning medications, when appropriate,

have major medical benefits, including improvements in anxiety and depression,

social functioning, body image, and reductions in suicidal ideation. These findings

have been well documented in a body of peer-reviewed studies published in



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authoritative journals. For the sake of brevity, Amici offer just a few recent

examples, but the literature spans a decade or more, and there are careful summaries

in the WPATH Standards of Care, the Endocrine Society Guidelines, and the clinical

practice guidelines published by the AAP, the APA, and AACAP.              See also

Boulware (2022), at 11-17 (summarizing the scientific evidence supporting medical

care for gender dysphoria).

      For instance, a 2020 meta-analysis of nine studies found positive outcomes

from transitioning medications, including “decreased suicidality in adulthood,

improved affect and psychological functioning, and improved social life.” See Lynn

Rew, et al., Review: Puberty Blockers for Transgender and Gender Diverse Youth-

A Critical Review of the Literature, 26 CHILD. ADOLESC. MENT. HEALTH 3, 3 (2021).

A 2022 study found that transitioning medications were “associated with 60% lower

odds of moderate to severe depressive symptoms and 73% lower odds of self-harm

or suicidal thoughts over a 12-month follow-up.” See Diana M. Tordoff, et al.,

Mental Health Outcomes in Transgender and Nonbinary Youths Receiving Gender-

Affirming Care, 5(2) JAMA NETWORK OPEN e220978 (2022) [“Tordoff (2022)”]. A

2020 study found that transitioning medications were associated with “important

improvements in body dissatisfaction over the first year of treatment.” See Laura E.

Kuper, et al., Body Dissatisfaction and Mental Health Outcomes of Youth on

Gender-Affirming Hormone Therapy, 145(4) PEDIATRICS e20193006 (2020) [



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“Kuper (2020)”].

        The scientific consensus is clear: peer reviewed scientific research has amply

documented that medical treatment for gender dysphoria is effective.

II.     THE 2022 EXCLUSION RESTS ON A FLORIDA AHCA REPORT
        THAT IGNORES SOLID MEDICAL EVIDENCE AND CITES
        UNRELIABLE SOURCES AND FLAWED “EXPERT”
        ASSESSMENTS.

        A.    The purported “expert” assessments attached to the AHCA Report
              carry no scientific weight. They are unpublished, not peer-
              reviewed, and are written by authors whose expertise has been
              successfully challenged in legal proceedings and whose
              backgrounds raise red flags for bias.

        The AHCA Report dismisses or ignores the WPATH Standards of Care and

the Endocrine Society Guidelines, as well as the solid body of scientific evidence

summarized above. Instead, the report relies on five attached documents that, the

report claims, constitute “clinical and technical expert assessments.” AHCA Report,

at 2.

        Despite their billing as “expert” reports, the attachments to the AHCA Report

are thoroughly unreliable. These reports violate the standards of scientific inquiry in

several ways and raise red flags for bias.

        First, none of the documents attached to the AHCA Report meet standard

criteria for expert scientific investigations, because none is published or peer

reviewed. Publication and peer review are fundamental to science, as they ensure

that a scientist’s data and conclusions are open to scrutiny from scientific experts.


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These attachments to the AHCA Report lack these critical indicia of scientific rigor.

The ACHA documents contain analysis and interpretations of pre-existing clinical

research that have not previously been peer-reviewed or published in the scientific

literature.

       Florida’s own standards for Medicaid coverage determinations recognize the

importance of relying on published, peer-reviewed literature to guide public health

decisions. Florida’s standards state that determinations of Medicaid coverage must

consult “published reports and articles in the authoritative medical and scientific

literature related to the health service (published in peer-reviewed scientific

literature generally recognized by the relevant medical community or practitioner

specialty associations).”` (emphasis added) Fl. Admin. Code Section 59G-1.035(4).

It is both unscientific and a violation of Florida’s own regulations for the AHCA

Report to rely on unpublished analysis as its principal evidence base.

       Second, the AHCA Report does not disclose how its “experts” were identified

or by what criteria their expertise was assessed. This is troubling because the

qualifications and credibility of several of the experts have been successfully

challenged in litigation.

       For example, although the AHCA Report characterizes Quentin van Meter as

an expert in medical treatment for gender dysphoria, at least one court barred him

from providing expert testimony on the issue. See Stephen Caruso, A Texas Judge



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Ruled That This Doctor Was Not an Expert, PENNSYLVANIA CAPITAL-STAR (Sept.

15, 2020) (reporting that van Meter was disqualified as an expert in a Texas divorce

case, now sealed, involving medical treatment for an adolescent with gender

dysphoria).

        To take another example, an Alabama federal district court in 2022 took a

skeptical view of testimony offered by another AHCA Report “expert,” James

Cantor. The court gave Cantor’s testimony “very little weight” because Cantor had

no clinical experience in diagnosing or treating gender dysphoria in minors. Opinion

and Order, Eknes-Tucker v. Marshall, 2:22-CV-184-LCB, 2022 WL 1521889,

(M.D. Ala. May 13, 2022), at 11. And testimony by another AHCA Report “expert,”

Patrick Lappert, was disqualified in 2022 by a North Carolina federal judge, who

found that the evidence “calls Lappert’s bias and reliability into serious question.”

Kadel v. Folwell, No. 1:19CV272, 2022 WL 3226731 (M.D.N.C. Aug. 10, 2022), at

26.

        Third, the AHCA Report’s purported “experts” have strong indications of

bias. Van Meter is the president of the American College of Pediatricians (the

“ACP”), a political group that opposes LGBTQ rights and has incorrectly asserted

that gender dysphoria is simply “confusion.” See Michelle Cretella, Gender

Dysphoria in Children, AMERICAN COLLEGE               OF   PEDIATRICIANS (2018),

https://acpeds.org/position-statements/gender-dysphoria-in-children (last visited



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September 30, 2022). Lappert has worked closely with anti-LGBTQ religious

groups and has actively lobbied for legal bans on medical care for transgender youth.

Kadel v. Folwell, supra, at 26.

      B.     The AHCA Report incorrectly claims that there is little or no
             evidence to support the benefits of medical care for gender
             dysphoria. The report ignores robust, peer-reviewed research and
             instead relies on sources with no scientific credibility.

      In its opening sentences, the AHCA Report makes a glaring error that is

repeated throughout the document: “Studies presenting the benefits [of medical

treatment for gender dysphoria for] mental health, including those claiming that the

services prevent suicide, are either low or very low quality and rely on unreliable

methods such as surveys and retrospective analyses, both of which are cross-

sectional and highly biased.” (emphasis added) AHCA Report, at 2.

      The AHCA Report’s claim is false. The analysis ignores the evidence-based

medical consensus and solid research documented in Part I of this brief. Instead, the

AHCA Report relies on unreliable assumptions and deceptive statements.

             1.    The AHCA Report relies on a purported “expert” analysis
                   that makes highly misleading claims about the quality of the
                   scientific evidence supporting medical treatment for gender
                   dysphoria

      The linchpin of the AHCA Report is one of the unpublished, non-peer-

reviewed “expert” reports commissioned by the AHCA, this one written by Romina

Brignardello-Petersen and Wojtek Wiercioch. See AHCA Report, Attachment C



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[the “BPW Document”]. The BPW Document purports to be a comprehensive

review of the scientific literature but, in fact, is extremely narrow in scope and so

flawed in its analysis that it deserves no scientific weight.

      Neither of the BPW authors are experts in medical care for gender dysphoria,

either as researchers or clinicians. Brignardello-Petersen’s only clinical experience

appears to be in dentistry, and Wiercioch is a junior researcher with no prior research

or clinical experience in this field. McNamara (2022), at 9-10. The authors’ lack of

expertise violates scientific standards for systematic reviews. Id. By analogy, one

would not rely on, say, a dermatologist and a statistician to evaluate the scientific

literature and make clinical recommendations for the practice of neurosurgery.

      The result is that the BPW Document is full of scientific errors. For instance,

the authors reviewed only a small sample of the relevant scientific literature and,

without justification, included biased, non-peer-reviewed literature. McNamara

(2022), at 12.

      Most troubling, the BPW analysis deceptively dismisses nearly all existing

studies of medical treatment for gender dysphoria as “low quality.” The authors fail

to explain that “low quality” in this context is a technical term and not a judgment

about the medical reliability of the evidence. They also, misleadingly, fail to mention

that so-called “low quality” studies regularly guide important aspects of clinical

practice. McNamara (2022), at 11-15.



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      As background, only randomized controlled trials (RCTs) are generally coded

as “high quality” evidence in this technical sense. An RCT divides patients randomly

into a control group (no treatment) and a treatment group. In contrast, an

observational study records information about patients in a real-world setting, e.g.,

a cohort of patients treated at a clinic. The rating system used in the BPW document

thus codes observational studies as “low quality.”

      The takeaway is that “low quality” in this context is a technical term and not

a condemnation of the evidence. In fact, the drafters of the rating system used in the

BPW document emphasize that technically “low quality” evidence can support a

strong clinical treatment recommendation. Howard Balshem, et al., GRADE

Guideline: 3. Rating the Quality, 64 J. CLIN. EPIDEM. 401, 402-404 (2011).

      Technically, “low quality” evidence is commonly used in medicine to support

strong clinical recommendations. For example, pediatricians now agree – and

parents have been told – that children should not be given aspirin for fevers. This

recommendation is based on observational studies (not RCTs) that showed an

association between aspirin treatment during viral illnesses and the development of

Reyes syndrome (a rapid and progressive disease of neurological dysfunction that

can be fatal). Id.

      The BPW document is highly misleading, because it fails to acknowledge that

RCTs are not, and cannot be, the gold standard for medical research on gender



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dysphoria, due to strong ethical constraints. Medical care has long been shown, by

reliable scientific methods, to address gender dysphoria and improve mental health.

As we have repeatedly noted, these treatments have been recommended by rigorous

clinical practice guidelines issued by WPATH and the Endocrine Society and

endorsed by every relevant major medical organization.

      Given this medical consensus and its solid evidence base, it would be

unethical to conduct an RCT that predictably will harm the control group by denying

them standard medical care for gender dysphoria. By analogy, it would be equally

unethical to conduct an RCT on the treatment of juvenile diabetes by randomizing

some participants to receive insulin and others to receive no medication at all.

      Similar ethical issues, along with practical barriers, leave many areas of

consensus medicine supported by observational studies (and not RCTs). In fact, if

the Florida Medicaid program consistently denied coverage to all procedures

supported only by observational studies, the result would be a massive disruption in

medical care.

      For example, if the Florida Medicaid program excluded all medical care

supported by technically “low quality” evidence, the program could not cover statins

(drugs to lower cholesterol) for many patients, which are prescribed to 28% of adults

over the age of 40 and are one of the most effective ways to prevent cardiovascular

death. Other common practices that would have to be reconsidered include post-



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menopausal hormone replacement therapy and mammography screening for breast

cancer. The program would also have to re-examine the technically “low quality”

evidence base for many common surgical procedures, including minimally invasive

gall bladder surgery, which has long had a foundational grounding in observational

studies. McNamara (2022), at 16.

      At its root, then, the AHCA Report is utterly misleading in its claim that the

scientific evidence supporting medical treatment for gender dysphoria is “low

quality.” In fact, the evidence base for such care is comparably strong to the evidence

that supports many other consensus medical treatments covered without objection

by the Florida Medicaid program.

             2.     The AHCA Report mischaracterizes the scientific evidence,
                    citing journalism and other unreliable sources while
                    launching baseless criticisms at solid research studies.

      The AHCA Report repeatedly cites unreliable sources, including journalism,

a student blog, a website, and letters to the editor – rather than peer-reviewed

empirical research. McNamara (2022), at 16-17. At the same time, the report makes

baseless or exaggerated criticisms of authoritative studies.

      For example, the AHCA Report attacks one 2015 study by claiming that the

study design did not include a control group of adolescents without gender

dysphoria. AHCA Report, at 15. This point is incorrect: the cited study included an

appropriate control group. McNamara (2022), at 17, discussing Rosalia Costa, et



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al., Psychological Support, Puberty Suppression, and Psychosocial Functioning in

Adolescents with Gender Dysphoria, 12 J. SEX. MED. 2206 (2015) [“Costa (2015)”].

      The June 2 Report also criticizes the Costa study for “rel[ying] heavily on

self-assessments.” Id.    But this too is wildly off base. The study measures

psychosocial functioning with a widely used and accepted instrument.

Psychological research typically relies on such assessments, which are carefully

constructed and psychometrically validated. This specious criticism provides

another example of the June 2 Report’s scant understanding of research in

psychology and medicine. The AHCA Report also grossly misleads the reader in its

discussion of other studies. McNamara (2022), at 17-19.

      Most concerningly, the AHCA Report makes piecemeal criticisms of a few

studies without acknowledging that the weight of the literature as a whole strongly

supports the same results these studies report. Scientific knowledge is, importantly,

cumulative. It is thus misleading – and unscientific – to dismiss the effectiveness of

transitioning medications by cherry-picking studies in isolation.

      For instance, the AHCA Report fails to acknowledge that at least 16 studies

show that transitioning medications benefit patients with gender dysphoria. These

studies have demonstrated the benefits of medical treatment for gender dysphoria as

measured by a variety of outcomes (body satisfaction, mental health, and suicidality,

among others). They evaluate a series of diverse study populations, ensuring



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generalizability of results, and they use a diverse array of methods (including

retrospective report, cross-sectional, longitudinal, and qualitative). Further, the

studies carefully control for confounding factors that could artificially distort the

relationship between an intervention and outcome. McNamara (2022), at 18.

III.     THE 2022 EXCLUSION IS BASED ON FALSE AND MISLEADING
         CLAIMS ABOUT MEDICAL REGULATION AND GENDER
         DYSPHORIA.
         The AHCA Report contains numerous additional errors about medical

regulation and gender dysphoria. We provide brief examples here, with a more

detailed discussion in McNamara (2022), at 15-20.

         A.    The AHCA Report mistakenly claims that transitioning
               medications are experimental because they are used “off-label” and
               not approved by the FDA. In fact, off-label use, when supported
               by scientific evidence, as here, is common in medical practice and
               especially in pediatrics.

         The AHCA Report repeatedly notes that the FDA has not approved the use of

transitioning medications for the treatment of gender dysphoria in minors. AHCA

Report, at 8, 14, 15, 19. The report infers that lack of FDA approval renders a

treatment unauthorized and experimental, but this is false.

         The term “off-label” has a very specific meaning: a drug is off-label if the

FDA has not approved a particular medication for a particular use in a specific

population. The off-label use of medications for children is common, because an

“overwhelming number of drugs” have no FDA-approved instructions for use in



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pediatric patients. Kathleen A. Neville, et al., American Academy of Pediatrics

Committee on Drugs, Off-label use of drugs in children, 133 PEDIATRICS 563, 563

(2014) [“AAP Committee on Drugs”].

      The lack of FDA approval does not imply that the use of medications should

be restricted. There is a consensus in the medical community that off-label use is

necessary because of limits imposed by burdensome and expensive regulatory

processes. The American Academy of Pediatrics, recognizing these facts,

specifically authorizes the off-label use of drugs, noting that

             [T]he term “off-label” does not imply an improper,
             illegal, contraindicated, or investigational use.
             Therapeutic decision-making must always rely on the
             best available evidence and the importance of the benefit
             for the individual patient. Id.
      Off-label use is so common in pediatrics that off-label drugs are prescribed in

nearly 20% of patient visits. Diya Hoon, et al., Trends in Off-Label Drug Use in

Ambulatory Settings: 2006-2015, 144 PEDIATRICS 1, 5 (2019). Familiar examples

include steroids administered to toddlers with croup (a severe, potentially airway-

obstructing illness) and ondansetron (Zofran) used to treat nausea and vomiting to

prevent dehydration. Every physician knows that off-label use, when supported by

research and clinical judgment, is not off-evidence.

      The AHCA Report also asserts that testosterone is a controlled substance and

is subject to risk of abuse, but this statement is highly misleading. Testosterone



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appears on the schedule of controlled substances due to the misuse of the drug by

some individuals and communities (e.g., athletes who may use the drug to build

muscle). The classification does not imply that physicians should not dispense the

drug if medically necessary. In fact, it is commonly prescribed to cisgender men with

testosterone deficiency.

      B.     The AHCA Report falsely claims that medical care for gender
             dysphoria is provided to a large percentage of children who will
             come to regret their treatment. In fact, patients with gender
             dysphoria have vanishingly low rates of regret regarding their
             medical treatment.

      The AHCA Report attempts to cast doubt on medical treatment for gender

dysphoria by repeating the debunked claim that most teens with gender dysphoria

ultimately reject their transgender identity. See AHCA Report, at 14 (claiming that

“the majority of young adolescents who exhibit signs of gender dysphoria eventually

desist and conform to their natal sex.”)

      This claim is demonstrably false, because it conflates the course of gender

dysphoria in pre-pubertal children with the course in adolescents. Although some

young children with gender dysphoria will ultimately not be transgender, the

evidence shows a very different outcome for adolescents. The key point is that

adolescents with gender dysphoria rarely find that their dysphoria resolves without

treatment. Boulware (2022), at 17-19.

      The distinction between pre-pubertal children and adolescents is important,



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because medical treatment for gender dysphoria begins only in adolescence, and

only if medically necessary. Thus, transitioning medications are provided only to a

group known to be quite stable in their gender identity.

      The AHCA Report also claims that many transgender people regret medical

treatment for gender dysphoria. This, too, is false. The scientific evidence is clear:

solid studies show very low percentages of regret (typically under 1%) among

transgender people who receive medical treatment for gender dysphoria. See

McNamara (2022), at 21-23.

      C.     The AHCA Report repeats discredited claims that “social
             contagion” leads teens to become transgender. Scientific evidence
             refutes this claim.

      The AHCA Report claims that “social factors (e.g., peer influences and media)

may be contributing factors to gender dysphoria,” citing as evidence a single,

discredited study. AHCA Report, at 12. The cited study by Lisa Littman claimed

adolescents were experiencing “rapid-onset” gender dysphoria motivated by peer

pressure. But the study incorporated such serious methodological errors that the

journal of publication required an extensive correction because of the article’s

misstatements. Boulware (2022), at 20-21.

      Although the “social contagion” hypothesis has been widely repeated in the

popular press and on social media, no clinical studies have confirmed it. Indeed, a

careful 2022 study found no evidence that social contagion influenced teenagers to



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become transgender. See Greta R. Bauer, et al., Do Clinical Data from Transgender

Adolescents Support the Phenomenon of “Rapid-Onset Gender Dysphoria”?, 243 J.

PEDIATRICS 224 (2022).

      Further, no professional organization recognizes so-called “rapid onset”

gender dysphoria as a distinct clinical condition or diagnosis. Indeed, in 2021 a

coalition of major psychological and psychiatric organizations issued a joint

statement calling for responsible mental health practitioners to eliminate any use of

“rapid-onset” gender dysphoria “given the lack of rigorous empirical support for its

existence.” See Coalition for the Advancement & Application of Psychological

Science, CAAPS Position Statement on Rapid Onset Gender Dysphoria (ROGD),

2021, https://www.caaps.co/rogd-statement.

      Data substantiate that younger people today are more likely to identify as

transgender than are older people, but this does not provide solid evidence of social

contagion. The difference may be due to increasing social acceptance of gender

diversity (i.e., older people grew up in a much more restrictive and transphobic social

environment). Furthermore, adolescent presentation of transgender identity is often

observed and should not be pathologized. See Sandy E. James, et al., The Report of

the 2015 U.S. Transgender Survey, National Center for Transgender Equality

(2015) (reporting results of the largest U.S. sample of transgender adults and finding

that over half reported first realizing they were transgender in adolescence).



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      What the data does not show is a massive wave of transgender identity even

among teens. Even using an expansive definition of “transgender,” only about 0.5%

of adults now identify as transgender, while 1.4% of youth aged 13-17 do, or about

300,000 young people. Jody L. Herman, et al., How Many Adults and Youth Identify

as Transgender in the United States?, U.C.L.A. SCHOOL          OF   LAW, WILLIAMS

INSTITUTE (2022). This is neither a large percentage nor a large absolute number.

      Finally, the social contagion hypothesis is irrelevant to the validity and

effectiveness of medical care for gender dysphoria. Importantly, medical treatments

are not offered to all gender-questioning youth, and there is no rush to treatment.

The WPATH Standards of Care and Endocrine Society Guidelines recommend

transitioning medications for transgender adolescents only when an interdisciplinary

medical team has determined that treatment is medically necessary.

      D.    The AHCA Report claims that inappropriate medical care is
            provided to adolescents with gender dysphoria who also have
            anxiety, depression, and other mental health conditions. These
            assertions are unsupported by evidence and disregard evidence-
            based clinical practice guidelines that provide guidance for treating
            complex cases.

      The AHCA Report speculates that because “a high proportion” of youth

receiving medical care for gender dysphoria also have a behavioral health disorder,

“available research raises questions as to whether the [individuals’] distress is

secondary to pre-existing behavioral health disorders and not gender dysphoria.”

AHCA Report, at 6. In simpler terms, the AHCA Report speculates that gender


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dysphoria is not real but is, rather, an imagined by-product of underlying mental

illness.

       This speculation has no foundation in science and contradicts medical

knowledge about the causes of and appropriate treatments for mental distress in

transgender youth. While some youth with gender dysphoria also have anxiety,

depression, and other mental health conditions, it is well-documented that these

conditions often reflect the social stress and discrimination of being transgender. Put

simply, being transgender in our society causes anxiety and depression. McNamara

(2022), at 25-27. These effects, sometimes called “gender minority stress,” are well-

documented, but the AHCA Report makes no mention of the literature.

       Further, psychological distress among individuals with gender dysphoria

provides no reason for denying medical care. Any population of individuals –

cisgender or transgender – will include some with mental health concerns. In

response, the WPATH Standards of Care and Endocrine Society Guidelines include

a careful psychological assessment of each adolescent as part of the process for

determining whether medical treatment for gender dysphoria is appropriate.

       Finally, experts in child and adolescent psychiatry, psychology, and medicine

have established that youth — including youth with mental health conditions — can

make complex medical decisions when well-supported by parents and professionals.

Indeed, the scientific literature demonstrates that transgender youth with co-



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occurring mental health conditions can competently participate in medical decision-

making. See Lieke J. Vrouenraets, et al., Assessing Medical Decision-Making

Competence in Transgender Youth, 148 PEDIATRICS 6 (2021).

      E.     The AHCA Report speculates, without evidence, that
             psychotherapy alone is as effective as medical treatment for gender
             dysphoria. This claim contradicts the findings of solid scientific
             studies.

      The AHCA Report claims, without scientific evidence, that youth with gender

dysphoria should not be offered medical treatment but instead should only receive

psychotherapy, an approach that it mistakenly terms “watchful waiting.” AHCA

Report, at 12, 20. This statement is false. Here we provide an overview of the actual

science, with more detail in McNamara (2022), at 27-28.

      At least three recent studies show that medical care for gender dysphoria has

positive effects on mental health that are not associated with psychotherapy alone.

A 2015 study documents that transitioning medications improve psychosocial

functioning in teens with gender dysphoria, compared to teens who receive

psychotherapy but not transitioning medications. Costa (2015), at 2212-13. A 2022

study similarly found that youth with gender dysphoria reported better outcomes if

they received transitioning medications, even after controlling for the effects of

psychotherapy. Tordoff (2022), at 4-6. And a 2020 study also showed that

transitioning medications are effective above and beyond the benefits of

psychotherapy and psychiatric medications. Kuper (2020), at 5-7.


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                                  CONCLUSION

      The 2022 Exclusion is based on a deeply flawed scientific report that

disregards the evidence-based consensus of medical experts and is riddled with

scientific errors, deceptive language, and outright falsehoods. Accordingly, the

AHCA Report provides no scientific justification for the 2022 Exclusion. We

strongly urge the Court to grant the Plaintiffs’ motion for a preliminary injunction.




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Dated: September 30, 2022            Respectfully submitted,

                                     HUSSEIN ABDUL-LATIF, SUSAN D.
                                     BOULWARE, REBECCA KAMODY,
                                     LAURA KUPER, MEREDITHE
                                     MCNAMARA, CHRISTY OLEZESKI,
                                     NATHALIE SZILAGYI, and ANNE
                                     ALSTOTT


                                     By and through their counsel,

                                     ARENTFOX SCHIFF LLP


                                      /s/ Joseph J. Krasovec III
                                     Joseph J. Krasovec III, Esq., Admitted in N.D.
                                     of Fla; Ill. Bar #6201456
                                     Joseph.Krasovec@afslaw.com
                                     ArentFox Schiff LLP
                                     233 South Wacker Drive, Suite 7100
                                     Chicago, Illinois 60606
                                     Telephone: 312.258.5500
                                     Facsimile: 312.258.5600
                                     Valerie C. Samuels, Esq. pro hac vice pending
                                     Valerie.Samuels@afslaw.com
                                     Kaila D. Clark, Esq., pro hac vice pending
                                     Kaila.Clark@afslaw.com
                                     Prudential Tower
                                     800 Boylston Street, 32 Floor
                                     Boston, MA 02199
                                     Telephone: 617.973.6100
                                     Facsimile: 617.367.2315

                                     Counsel for Amici Curiae




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                     CERTIFICATE OF WORD COUNT

      According to the word processing system used to prepare this brief, Microsoft

Word, there are 7,763 words contained within the brief.



                                                  /s/ Joseph J. Krasovec III
                                                  Joseph J. Krasovec III, Esq.




                 CERTIFICATE OF SATISFACTION OF
               ATTORNEY-CONFERENCE REQUIREMENT

      Pursuant to Local Rule 7.1(B), counsel for amici conferred with counsel

for the parties on September 28, 2022. Plaintiffs consented to the filing of

amici’s brief; Defendants oppose the filing.

                                                  /s/ Joseph J. Krasovec III
                                                  Joseph J. Krasovec III, Esq.




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